                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2022-NCCOA-135

                                           No. COA20-548

                                       Filed 1 March 2022

     McDowell County, No. 18 CRS 50817-18

     STATE OF NORTH CAROLINA

                  v.

     JOANNA KAYE JULIUS


           Appeal by defendant from judgments entered 17 April 2019 by Judge J.

     Thomas Davis in McDowell County Superior Court. Heard in the Court of Appeals 5

     October 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General William
           Walton, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Hannah
           Hall Love, for defendant-appellant.


           TYSON, Judge.


¶1         Joanna Kaye Julius (“Defendant”) appeals her convictions of trafficking in

     methamphetamine by possession and possession of methamphetamine with the

     intent to sell or deliver. We find no error.

                                      I.     Background

¶2         McDowell County Sheriff’s Deputy Jesse Hicks (“Deputy Hicks”) and State

     Highway Patrol Trooper Justin Sanders (“Trooper Sanders”) responded to a single-
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     car accident on Tom’s Creek Road on 20 May 2018.           At the time of the crash,

     Defendant was the passenger and her acquaintance, Kyle, was driving the vehicle

     with Defendant’s permission. The silver Suzuki SUV was owned by Defendant’s

     parents, and had come to rest in a drainage ditch on the side of the road, with the

     driver’s side partially submerged in water.

¶3         At least three witnesses at the site of the accident told the officers the driver

     had fled the scene and walked into nearby woods because of having outstanding

     warrants. Defendant stood alone, away from those gathered on the side of the road,

     with a pink backpack on the ground next to her. She provided Trooper Sanders with

     her identification from the wallet inside her pink backpack. Defendant also told

     Trooper Sanders the driver, a man she knew as Kyle, had fled the scene. Defendant

     claimed not to know Kyle’s full or last name.

¶4         Trooper Sanders searched the SUV to “look[ ] for Kyle’s driver’s license or ID.”

     He entered the car through the passenger side and found a black and green Nike bag

     on the passenger side floorboard. Inside the Nike bag, Trooper Sanders discovered a

     black box. Inside the box were two cell phones, a scale, and two large bags of a clear

     crystal-like substance, which was later determined to be 40.83 grams of

     methamphetamine.

¶5         Officers placed Defendant into custody after locating the substances inside of

     the vehicle. The officers searched her pink backpack. Inside of Defendant’s backpack,
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     the officers found a glass smoking pipe, five cell phones, a handgun, a notebook,

     $1,785 in cash, and a clear container holding several bags of a white crystal-like

     substance, one of which contained one tenth of an ounce of methamphetamine.

¶6         Defense counsel filed a pretrial motion to suppress the evidence found in the

     black and green Nike bag and the pink backpack, alleging the search of the vehicle

     violated Defendant’s Fourth Amendment protection from unreasonable searches and

     seizures.

¶7         During a hearing on 5 March 2019, Trooper Sanders testified he had searched

     the vehicle to locate the driver’s identification in order to investigate the motor

     vehicle collision and a potential hit-and-run. The alleged driver, Kyle, had left the

     scene of a car accident after causing property damage. The trial court concluded the

     warrantless search was constitutional because Trooper Sanders had probable cause

     to search the SUV and denied Defendant’s motion.

¶8         Defendant was indicted for two counts of possession of methamphetamine,

     possession of drug paraphernalia, two counts of trafficking methamphetamine,

     possession with intent to sell and deliver a Schedule II controlled substance, and

     failure to appear.

¶9         Defendant’s trial began on 15 April 2019. Defendant pled guilty to possession

     of methamphetamine. Pursuant to her plea, the State agreed to consolidate the

     conviction of possession of methamphetamine with Defendant’s conviction of
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       possession with intent to sell and deliver methamphetamine in 18 CRS 50818 and

       dismiss the charges of possession of drug paraphernalia and failure to appear.

¶ 10         Defendant was convicted of trafficking in methamphetamine by possession by

       a jury’s verdict and sentenced to the mandatory minimum of 70 to maximum 93

       months imprisonment. The court consolidated Defendant’s convictions of possession

       with intent to sell and deliver and possession of methamphetamine for judgment, and

       imposed a sentence of 6-17 months in prison that was suspended for 30 months of

       supervised probation, to commence upon Defendant’s release from prison. Defendant

       appealed.

                                        II.      Jurisdiction

¶ 11         Appellate jurisdiction is proper pursuant to N.C. Gen. Stat. § 7A-27(b)(1)

       (2021).

                                              III.   Issues

¶ 12         Defendant contends the trial court: (1) erred in denying her motion to suppress

       evidence found in a warrantless search of her parents’ vehicle without sufficient

       probable cause; and, (2) plainly erred by failing to provide an additional instruction

       about her actual knowledge of the drugs found inside the vehicle.

                                  IV.    Standard of Review

                    In examining the case before us, our review is limited. It is
                    the trial judge’s responsibility to make findings of fact that
                    are supported by the evidence, and then to derive
                    conclusions of law based on those findings of fact. Where
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                    the evidence presented supports the trial judge’s findings
                    of fact, these findings are binding on appeal. . . . The trial
                    court’s conclusions of law, however, are fully reviewable on
                    appeal.

       State v. Hughes, 353 N.C. 200, 207–08, 539 S.E.2d 625, 630–31 (2000).

                              V.   Defendant’s Motion to Suppress

¶ 13         It is well established that “searches conducted outside the judicial process,

       without prior approval by judge or magistrate, are per se unreasonable under the

       Fourth Amendment-subject only to a few specifically established and well delineated

       exceptions.” State v. Fizovic, 240 N.C. App. 448, 452, 770 S.E.2d 717, 720 (2015)

       (citations omitted).

                    [W]here a search of a suspect’s person occurs before instead
                    of after formal arrest, such search can be equally justified
                    as “incident to the arrest” provided probable cause to arrest
                    existed prior to the search and it is clear that the evidence
                    seized was in no way necessary to establish the probable
                    cause. If an officer has probable cause to arrest a suspect
                    and as incident to that arrest would be entitled to make a
                    reasonable search of his person, we see no value in a rule
                    which invalidates the search merely because it precedes
                    actual arrest. The justification for the search incident to
                    arrest is the need for immediate action to protect the
                    arresting officer from the use of weapons and to prevent
                    destruction of evidence of the crime.

       State v. Wooten, 34 N.C. App. 85, 89–90, 237 S.E.2d 301, 305 (1977) (citation and

       quotation marks omitted).

¶ 14         The same reasoning in Wooten applies to the search of Defendant’s parents’
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       vehicle involved in the accident and subsequently of her person and backpack. Our

       Supreme Court held, “when investigators have a reasonable and articulable basis to

       believe that evidence of the offense of arrest might be found in a suspect’s vehicle

       after the occupants have been removed and secured, the investigators are permitted

       to conduct a search of that vehicle.” State v. Mbacke, 365 N.C. 403, 409-10, 721 S.E.2d

       218, 222 (2012).

¶ 15         Defendant challenges the following conclusion of law: “Trooper J.L. Sanders

       did not know . . . the true identity of the suspect, the cause of the collision, the extent

       of any damage caused by the collision, or the reason the alleged perpetrator had fled,

       if any. The answer to those inquiries lay within the vehicle driven by Kyle Lytle.”

¶ 16         Here, the evidence and findings show officers received a dispatch call and

       responded to the scene of a vehicle accident. Defendant told officers the vehicle

       belonged to her parents, she was a passenger in the car at the time of the accident,

       and she had allowed Kyle to drive the SUV. Defendant stated she did not know

       “Kyle’s full name.”

¶ 17         Officers on the scene were told the purported driver of the vehicle had fled from

       the scene because he had pending active arrest warrants. Defendant claimed she was

       not driving the vehicle at the time of the accident. Defendant could not tell officers if

       the purported driver had taken his driver’s license or other identification with him.

       Trooper Saunders’ search of the vehicle was limited to plain view areas and
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       containers in which the alleged driver’s identification could have reasonably been

       located.

¶ 18         Officers had reasonable suspicion to search the vehicle to verify the claims of

       another occupant and custodian of the vehicle to determine that alleged driver’s

       identity.   Kyle’s true identity was unknown at the time of the search. Kyle’s

       identification may not have been inside the vehicle, but there was no other way for

       the officers to try to find information to identify the driver if the passengers and other

       witnesses did not know or would not provide his full name. The identification of the

       purported driver may have reasonably been determined from looking inside the

       wrecked vehicle.

¶ 19         It is not disputed, and evidence supports the trial court’s finding that the

       officers did not know the “true identity” of the purported driver, the cause of the

       collision, the extent of the damage caused by the collision, or the reason the driver

       had fled.   Presuming the last sentence of the conclusion: “The answer to those

       inquiries lay within the vehicle” is overstated, the officers were trying to identify the

       driver, who had fled from the scene of the accident, which itself is a crime, and who

       reportedly had outstanding warrants for other crimes. Defendant providing the name

       “Kyle” did not identify the driver. As it turned out, “Kyle” was middle name of the

       driver.

¶ 20         In either event, the officers were justified in searching the wrecked vehicle to
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       get it out of the ditch for an inventory or for officer safety. Officers searched the

       vehicle in an effort to find the purported driver’s name or some means of

       identification. Once they discovered the black and green Nike bag containing drug-

       like substances and multiple cell phones was discovered, the officer testified “the

       nature of the investigation changed.” The trial court properly denied Defendant’s

       motion to suppress. Mbacke, 365 N.C. at 409-10, 721 S.E.2d at 222.

                                     VI.   Jury Instructions

¶ 21          Defendant failed to object to the jury instructions at trial and is limited only to

       appellate review for plain error. “[T]o rise to the level of plain error, the error in the

       instructions must be so fundamental that it denied the defendant a fair trial and

       quite probably tilted the scales against him.” State v. Barton, 335 N.C. 696, 702, 441

       S.E.2d 295, 298 (1994) (citation and internal quotation marks omitted).

¶ 22          “A jury instruction must be evaluated as a whole. If the entire instruction is

       an accurate statement of the law, one isolated piece that might be considered

       improper or wrong on its own will not be found sufficient to support reversal.” State

       v. Roache, 358 N.C. 243, 311, 595 S.E.2d 381, 424 (2004).

¶ 23          Defendant argues the court failed to instruct on the knowledge element of the

       illegal drug charges. The jury was instructed that the State must prove Defendant

       “knowingly” possessed methamphetamine. The trial court adequately advised the

       jury   of   the   knowledge     requirement      by   stating,   “[a]   person   possesses
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       methamphetamine if the person is aware of its presence . . . and intent to control the

       disposition or use of that substance.”

¶ 24         In totality, the jury was sufficiently instructed the State had to prove beyond

       a reasonable doubt that Defendant knowingly possessed methamphetamine, and

       Defendant could not be convicted if she lacked knowledge of the methamphetamine

       found inside of her parent’s vehicle. Roache, 358 N.C. at 311, 595 S.E.2d at 424. The

       trial court properly instructed the jury that the State had to prove beyond a

       reasonable   doubt   that   Defendant      knowingly      possessed   methamphetamine.

       Defendant’s argument is overruled.

                                      VII.      Conclusion

¶ 25         The trial court properly denied Defendant’s motion to suppress. Officers had

       reasonable suspicion to search the vehicle involved in an accident to find the

       identification of the purported driver and, from the contents of black and green Nike

       bag, developed probable cause to search Defendant’s person and backpack. The trial

       court’s instructions to the jury adequately explained the knowledge element and

       requirement of the possession of methamphetamines charge. Defendant received a

       fair trial free from prejudicial errors. We affirm the findings and conclusions as noted

       to deny Defendant’s motion to suppress and find no error in the jury’s verdict or in

       the judgment entered thereon. It is so ordered.

             NO ERROR.
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                               Opinion of the Court



      Chief Judge STROUD concurs.

      Judge INMAN dissents in part and concurs in the result only in part with

separate opinion.
        No. COA 20-548 – State v. Julius


             INMAN, Judge, dissenting in part; concurring in result only in part.


¶ 26         Because the evidence and argument presented to the trial court did not

       establish probable cause for the warrantless search of Defendant’s parent’s vehicle, I

       respectfully dissent from the majority’s decision affirming the trial court’s denial of

       Defendant’s motion to suppress.        I concur in the majority’s mandate denying

       Defendant relief related to the trial court’s failure to give the requested jury

       instruction, but for a different reason, as explained below.

                     I.   FACTUAL &amp; PROCEDURAL BACKGROUND

¶ 27         The majority opinion omits the following facts relevant to Trooper Sanders’

       search of the vehicle:

¶ 28         In addition to telling officers that the driver of the vehicle had fled the scene

       on foot, witnesses described the driver as a white male with short hair and a facial

       tattoo. Deputy Hicks was familiar with a man named Kyle, later determined to be

       William Kyle Lytle (“Mr. Lytle”), matching the description of the driver.

¶ 29         After learning that the driver had fled but before learning the driver’s last

       name, Trooper Sanders searched the vehicle without Defendant’s consent, specifically

       “looking for Kyle’s driver’s license or ID.” Neither the black and green Nike bag nor

       the black box discovered during the search of the vehicle contained any identification.

                                        II.   ANALYSIS

       A. Motion to Suppress Evidence Obtained by Warrantless Search of Vehicle

¶ 30         We review a motion to suppress to determine “whether competent evidence
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                        INMAN, J., dissenting in part and concurring in result in part



       supports the trial court’s findings of fact and whether the findings of fact support the

       conclusions of law.” State v. Malone, 373 N.C. 134, 145, 833 S.E.2d 779, 786 (2019)

       (citation omitted).   The trial court’s findings of fact are conclusive on appeal if

       supported by competent evidence, even if the evidence is conflicting. Id. at 145, 833

       S.E.2d at 786. Findings of fact not challenged on appeal are binding. State v. Lupek,

       214 N.C. App. 146, 150, 712 S.E.2d 915, 918 (2011). We review the trial court’s

       conclusions of law de novo. Malone, 373 N.C. at 145, 833 S.E.2d at 786 (citation

       omitted).

¶ 31         The Fourth Amendment protects all persons from “unreasonable searches and

       seizures,” U.S. Const. amend. IV, subject to only a few clearly designated exceptions,

       Mincey v. Arizona, 437 U.S. 385, 390, 57 L. Ed. 2d 290, 298 (1978). To overcome a

       defendant’s motion to suppress evidence, the State bears the burden of demonstrating

       “how the [warrantless search] was exempted from the general constitutional demand

       for a warrant.” State v. Nowell, 144 N.C. App. 636, 642, 550 S.E.2d 807, 812 (2001)

       (brackets in original) (citation omitted).

¶ 32         Here, the trial court concluded the search of the vehicle was constitutional

       based on the following reasoning:

                    During his investigation of this collision, Trooper J.L.
                    Sanders was provided with the first name and physical
                    characteristics of the alleged perpetrator of a hit and run.
                    He became aware that someone with the first name ‘Kyle’
                    had been operating a silver Suzuki SUV involved in a
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                       INMAN, J., dissenting in part and concurring in result in part



                    collision and that this man had fled the scene on foot. He
                    learned that the man was concerned about having
                    unserved warrants.        In speaking with each of the
                    eyewitnesses, Trooper J.L. Sanders and Deputy Jesse
                    Hicks were able to determine it was possible that the crime
                    of hit and run had been committed and that the person
                    responsible was fleeing into the woods. Trooper J.L.
                    Sanders did not know, however, the true identity of the
                    driver, the cause of the collision, the extent of any damage
                    caused by the collision, or the reason the alleged
                    perpetrator fled, if any. The answer to those inquiries lay
                    within the vehicle. It was reasonable for [Trooper] J.L.
                    Sanders to conclude that the vehicle may contain evidence
                    of the true identity of the driver, the cause of the collision,
                    and/or the reason for the driver fleeing the scene, and he
                    therefore had probable cause to search the vehicle for that
                    evidence . . . . As a result, Trooper J.L. Sanders had legal
                    authority to search the vehicle and every place within the
                    vehicle where any form of identification for Kyle Lytle
                    could be found. Trooper J.L. Sanders’ subsequent search
                    of the black and green Nike bag and the black box inside it
                    were therefore constitutional searches.

¶ 33         While there may have been probable cause to justify the issuance of a warrant

       by a magistrate, no exception to the warrant requirement authorized the warrantless

       search of the vehicle on the scene of the single-car accident in this case. Even if it

       was reasonable to believe that Kyle’s identification would be in the car to corroborate

       witnesses’ testimony that he was the driver and that he had subsequently committed

       the crime of hit and run by leaving the scene of the accident, the warrant requirement

       protection may not be usurped absent some exception. See State v. Fizovic, 240 N.C.

       App. 448, 452, 770 S.E.2d 717, 720 (2015) (“Searches conducted outside the judicial
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                                             2022-NCCOA-135

                       INMAN, J., dissenting in part and concurring in result in part



       process, without prior approval by judge or magistrate, are per se unreasonable under

       the Fourth Amendment––subject only to a few specifically established and well-

       delineated exceptions.”).

          1. Search Incident to Arrest Exception

¶ 34         The majority relies on the State’s argument that the search of the vehicle was

       incident to Mr. Lytle’s arrest and therefore authorized without a warrant, but Mr.

       Lytle was not arrested anywhere near the vehicle, and he was not arrested at the

       time of the search.

¶ 35         Police may “search a vehicle incident to a recent occupant’s arrest only if the

       arrestee is within reaching distance of the passenger compartment at the time of the

       search or it is reasonable to believe the vehicle contains evidence of the offense of

       arrest.” Fizovic, 240 N.C. App. at 452, 770 S.E.2d at 720 (citing Arizona v. Gant, 556

       U.S. 332, 351, 173 L. Ed. 2d 485, 501 (2009)) (emphasis added).

¶ 36         The search of the vehicle fails an essential threshold requirement of the search

       incident to arrest exception––the arrest of a recent occupant of the vehicle. Trooper

       Sanders testified that at the time of the warrantless search of the vehicle, the person

       officers intended to arrest in connection with the accident, the driver, Kyle, was not

       on the scene and his whereabouts were unknown. The officers’ authority to arrest

       Mr. Lytle once they found him “does not necessarily include the authority to search a

       motor vehicle in the absence of probable cause.” State v. Braxton, 90 N.C. App. 204,
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                       INMAN, J., dissenting in part and concurring in result in part



       208, 368 S.E.2d 56, 59 (1988).

¶ 37         For a search incident to arrest based on an outstanding warrant, “it is highly

       unlikely that [evidence relevant to the crime of arrest] would exist to permit a search

       of a vehicle, unless incriminating facts concerning the offense charged in the warrant

       exist at the arrest scene.” Robert L. Farb, Arrest, Search, and Investigation in North

       Carolina 250-52 (UNC Sch. of Gov’t, 5th ed. 2016) (citing United States v. Hinson,

       585 F.3d 1328, 1334-35 (10th Cir. 2009) (applying Gant)). Because Mr. Lytle was not

       present on the scene at the time of the search, there was no arrest to justify, even

       retroactively, the warrantless search of the vehicle. Cf. State v. Fisher, 141 N.C. App.

       448, 456, 539 S.E.2d 677, 683 (2000) (“Because [the] defendant was never arrested,

       the search of his vehicle was not justified as a search incident to a lawful arrest.

       Furthermore, in accordance with Knowles, the officers were not justified in searching

       [the] defendant’s car based upon the issuance of the citation. This is true even though

       the officers may have had probable cause to arrest [the] defendant.”).

¶ 38         The majority relies on State v. Wooten, 34 N.C. App. 85, 237 S.E.2d 301 (1977),

       to justify the warrantless search at issue in this case. In Wooten, this Court reasoned:

                    [W]here a search of a suspect’s person occurs before instead
                    of after formal arrest, such search can be equally justified
                    as ‘incident to the arrest’ provided probable cause to arrest
                    existed prior to the search and it is clear that the evidence
                    seized was in no way necessary to establish the probable
                    cause.
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                                              2022-NCCOA-135

                        INMAN, J., dissenting in part and concurring in result in part



       Id. at 89, 237 S.E.2d at 305. Contrary to the majority’s summary of the evidence,

       officers did not testify that they suspected Defendant had been driving the vehicle at

       the time of the collision. Witnesses told police unequivocally Kyle had been driving

       the vehicle. Further, there was no probable cause to search or arrest Defendant; even

       if she were the driver, she remained with the vehicle after the accident. See N.C.

       Gen. Stat. § 20-166 (2021) (“Duty to stop in event of a crash.”). The search of the

       vehicle could not be justified as incident to Defendant’s arrest because, as the majority

       concedes, the illegal drugs and paraphernalia seized from the search of the vehicle

       singularly established the probable cause to arrest and search Defendant and her

       belongings. See Wooten, 34 N.C. App. at 89, 237 S.E.2d at 305. Police did not form

       the intent to arrest Defendant until after finding contraband in the vehicle through

       the warrantless search.

          2. Other Exceptions to Warrant Requirement

¶ 39         Nor was the search of the vehicle authorized under the automobile exception

       to the warrant requirement, as the State contends.

¶ 40         “A search of a motor vehicle which is on a public roadway or in a public

       vehicular area is not in violation of the fourth amendment if it is based on probable

       cause, even though a warrant has not been obtained.” State v. Isleib, 319 N.C. 634,

       638, 356 S.E.2d 573, 576 (1987) (citing United States v. Ross, 456 U.S. 798, 809, 72 L.

       Ed. 2d 572, 584 (1982)).       “Probable cause requires that the existing facts and
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                       INMAN, J., dissenting in part and concurring in result in part



       circumstances be sufficient to support a fair probability or reasonable belief that

       contraband will be found in the automobile.” State v. Corpening, 109 N.C. App. 586,

       589, 427 S.E.2d 892, 894 (1993) (citing State v. Simmons, 278 N.C. 468, 180 S.E.2d

       97 (1971); State v. Ford, 70 N.C. App. 244, 318 S.E.2d 914 (1984)). The automobile

       exception exists because “the inherent mobility of motor vehicles” creates the risk

       that evidence of criminal activity will be removed from the scene before officers have

       time to obtain a search warrant. Isleib, 319 N.C. at 637, 356 S.E.2d at 576; see also

       Collins v. Virginia, 138 S. Ct. 1663, 1669, 201 L. Ed. 2d 9, 18 (2018) (“The ‘ready

       mobility’ of vehicles served as the core justification for the automobile exception for

       many years.” (citations omitted)). In this case, as the majority acknowledges, the

       vehicle was in a ditch and inoperable, negating the automobile exception’s purpose.

¶ 41         The other theories offered by the majority to justify the warrantless search of

       the vehicle––officer safety, an inventory search, or search for other people––are

       nowhere to be found in the evidence, the officers’ testimony at the motion to suppress

       hearing, in the trial court’s findings on the motion to suppress, or in the State’s

       arguments presented on appeal. It is not within the province of this Court to create

       the probable cause which might have existed to justify the warrantless search of the

       vehicle; that burden falls squarely on the State to present evidence to the trial court.

       See Nowell, 144 N.C. App. at 642, 550 S.E.2d at 812.                 I would hold that the

       warrantless search of the vehicle was unconstitutional.
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                        INMAN, J., dissenting in part and concurring in result in part



          3. Fruit of the Poisonous Tree

¶ 42         Because the warrantless search of the vehicle was unconstitutional, the

       evidence discovered in the black and green Nike bag should be suppressed under the

       exclusionary rule. See State v. Jackson, 199 N.C. App. 236, 244, 681 S.E.2d 492, 498
       (2009); see also Wong Sun v. United States, 371 U.S. 471, 487-88, 9 L. Ed. 2d 441, 455
       (1963) (holding evidence that is the “fruit” of an illegal search is inadmissible).

¶ 43         As the trial court concluded, “[t]he discovery of what appeared to be

       methamphetamine and drug paraphernalia inside of the black and green Nike bag

       found in the passenger floorboard provided [the officers] with probable cause to arrest

       [Defendant] and search her pink backpack.” Because the probable cause to arrest

       Defendant and search her pink backpack arose only from the illegal search of the

       vehicle, the evidence seized from Defendant’s backpack also should have been

       excluded as “fruit of the poisonous tree.” See Jackson, 199 N.C. App. at 243-44, 681

       S.E.2d at 497-98.

¶ 44         I would reverse the trial court’s order denying Defendant’s motion to suppress,

       vacate Defendant’s convictions, and remand for a new trial.

       B. Additional Jury Instruction

¶ 45         I concur in the majority’s denial of relief to Defendant based on the trial court’s

       failure to instruct the jury on additional pattern jury language after Defendant

       denied knowledge of the drugs in the black and green Nike bag. But unlike the
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                          INMAN, J., dissenting in part and concurring in result in part



       majority, which holds that the trial court did not err, I would conclude that Defendant

       has failed to demonstrate plain error.

¶ 46             “Failure to follow the pattern instructions does not automatically result in

       error.” State v. Bunch, 363 N.C. 841, 846,689 S.E.2d 866, 870 (2010). We will uphold

       instructions when, “viewed in their entirety, [the instructions] present the law fairly

       and accurately to the jury.” State v. Roache, 358 N.C. 243, 304, 595 S.E.2d 381, 420
       (2004).

¶ 47         Footnote 6 of the pattern jury instruction for drug trafficking provides: “If the

       defendant contends that the defendant did not know the true identity of what the

       defendant possessed, add this language to the first sentence: ‘and the defendant knew

       that what the defendant possessed was (name substance).’” N.C.P.I. Crim. 260.17 n.6

       (2019) (emphasis added).

¶ 48         The supplemental instruction is derived from State v. Boone, 310 N.C. 284, 311

       S.E.2d 552 (1984), superseded by statute on other grounds as stated in State v. Oates,

       366 N.C. 264, 732 S.E.2d 571 (2012), in which our Supreme Court held

                      the trial court erred in instructing the jury that defendant
                      could be found guilty of possessing marijuana if he had
                      reason to know that what he possessed was marijuana . . . .
                      [T]he court should have instructed the jury that the
                      defendant is guilty only in the event he knew the
                      marijuana was in the trunk of his automobile and that if
                      he was ignorant of that fact, and the jury should so find,
                      they should return a verdict of not guilty.
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                       INMAN, J., dissenting in part and concurring in result in part



       Id. at 294, 311 S.E.2d at 559. Here, on the charge of drug trafficking by possession,

       the trial court instructed jurors, in relevant part, that they must determine whether

       the State proved beyond a reasonable doubt that “the defendant knowingly possessed

       methamphetamine. A person possesses methamphetamine if the person is aware of

       its presence and has, either by one’s self or together with others, both the power and

       intent to control the disposition or use of that substance.” The Supreme Court’s

       holding in Boone and the additional jury instruction would have resulted in the jury

       being told in this case that “defendant knowingly possessed the methamphetamine in

       the black bag and the defendant knew that what she possessed in the black bag was

       methamphetamine.” (emphasis added).

¶ 49         Throughout the trial, Defendant denied knowledge of the contents of the black

       and green bag, which she testified Mr. Lytle had left in her car at the time of the

       accident before he fled the scene. She testified she never opened, touched, or saw

       what was in the bag. During closing argument, Defendant’s counsel argued that even

       if Defendant knowingly possessed the methamphetamine contained in her pink

       backpack, she did not knowingly possess a trafficking amount of methamphetamine

       because she had no knowledge of what was in the black and green Nike bag. The

       State asserted in its closing arguments that Defendant was aware of the

       methamphetamine contained in the black and green bag and therefore was guilty of

       trafficking by possession.
                                             STATE V. JULIUS

                                              2022-NCCOA-135

                        INMAN, J., dissenting in part and concurring in result in part



¶ 50         Here, unlike in Boone, the trial court correctly instructed jurors on the

       standard of actual knowledge required for them to find Defendant guilty of possessing

       a controlled substance.      But in light of the evidence presented to support the

       trafficking charge, Defendant’s knowledge of the contents of the black and green bag

       was a “determinative issue of fact” at trial, and she was still entitled to the additional

       jury instruction on that issue of fact. State v. Lopez, 176 N.C. App. 538, 546, 626

       S.E.2d 736, 742 (2006) (awarding the defendant a new trial because “[o]ur courts have

       previously awarded new trials for the failure to properly instruct the jury that a

       defendant was guilty only if he knew a package contained an illicit substance, when

       the defendant had presented evidence that he lacked knowledge of the true contents

       of the package.”) (citing Boone, 310 N.C. at 295, 311 S.E.2d at 559)); see also State v.

       Coleman, 227 N.C. App. 354, 362, 742 S.E.2d 346, 352 (2013) (“[S]ubstantive evidence

       that defendant did not know that the substance he possessed was heroin was

       sufficient to . . . trigger the necessity to give the required additional instruction on

       guilty knowledge contained within [the pattern jury instructions].”)              For these

       reasons, I would hold the trial court erred in failing to further instruct the jury about

       Defendant’s knowledge as prescribed by our pattern jury instructions. But given the

       ability of Defendant’s trial counsel to present to jurors the argument that Defendant

       did not know the black and green Nike bag contained methamphetamine, and

       considering all other evidence of record, as well as the jury’s sole province to assess
                                             STATE V. JULIUS

                                             2022-NCCOA-135

                       INMAN, J., dissenting in part and concurring in result in part



       the credibility of all witnesses, I do not conclude that the error had a probable impact

       on the jury’s verdict. See Lawrence, 365 N.C. at 518, 723 S.E.2d at 334.

                                      III.    CONCLUSION

¶ 51         Based on the reasons outlined above, I respectfully dissent from the majority’s

       decision in part and concur in result only in part.
